Case 2:04-cr-20502-SH|\/| Document 40 Filed 06/13/05 Page 10f2 Page|D

  

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 93 JHH 13 m E: 36
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20502-Ma

VS.

JEFFREY HARDIN,

-._,\_»~_.¢-._,-._--._-_¢-../~_,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fron\ May 3l, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § BlEl(h)(S)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

134/k

day of June, 2005.

MMH

IT IS SO ORDERED this

 

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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This notice confirms a copy of the document docketed as number 40 in
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Honorable Samuel Mays
US DISTRICT COURT

